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       February 27, 2022

       Honorable Brian M. Cogan
       United States District Judge for the
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York, 11201

       Re: United States v. Colinford Mattis, 20 Cr. 203 (BMC)

       Your Honor:

                I write on behalf of Colinford Mattis to request a 45-day adjournment of sentencing, currently
       scheduled for March 8, 2022, and a 10-day extension of time within which to submit our objections to the
       first disclosure of the Pre-Sentence Report. Should the Court grant the requested adjournments, the
       sentencing for Mr. Mattis and Ms. Rahman would occur on dates after April 22, 2022, that is convenient
       for the Court, and our objections to the first disclosure of the PSR would be due on March 18, 2022. Our
       preference is for Ms. Rahman to be sentenced first. I have conferred with counsel for Ms. Rahman, who
       joins in this request.

                The parties received the first disclosure of the Pre-Sentence Reports on February 22, 2022. In light
       of the complicated sentencing guidelines issues, an additional 10 days is needed for us to properly prepare
       our objections to the Probation Department. In addition, the requested 45-day adjournment of sentencing is
       intended to provide Probation with sufficient time to consider the parties’ objections to the initial Pre-
       Sentence Reports, and to provide the parties with time to address Probation’s resolution of such objections
       in their sentencing submissions. This is defense’s first request for an adjournment.

               Defense counsel has conferred with the government (AUSA Ian Richardson), which does not
       oppose this request.

               I thank the Court for its consideration of this matter.

                                                                  Respectfully submitted,

                                                                  /s/Sabrina P. Shroff
                                                                  Adam Z. Margulies
                                                                  Attorneys for Colinford Mattis


       cc:     Department of Probation
